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                       IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                                  WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION


IN THE MATTER OF:                                                                  CASE NO. 20-51985

CHAD MICHAEL ANDERS
AND LAUREN ROSE SAN MIGUEL

    DEBTORS                                                                        CHAPTER 7


                                  NOTICE OF APPEARANCE
                                           AND
                   REQUEST FOR SERVICE OF NOTICES AND OTHER DOCUMENTS

      Notice is hereby given that Tara LeDay, of McCreary, Veselka, Bragg & Allen, P.C., P. O. Box 1269,
Round Rock, Texas 78680, will appear as counsel for Bell TAD and Guadalupe County in the above-entitled
case and requests that service of notices and other documents be made upon this attorney of record.

Dated: December 9, 2020

                                                         Respectfully submitted,

                                                         MCCREARY, VESELKA, BRAGG & ALLEN, P.C.
                                                         Attorneys for Claimants, Bell TAD, Guadalupe
                                                         County

                                                         /s/Tara LeDay
                                                         Tara LeDay
                                                         State Bar Number 24106701
                                                         P.O. Box 1269
                                                         Round Rock, Texas 78680
                                                         Telephone: (512) 323-3200
                                                         Fax: (512) 323-3205
                                                         Email: tleday@mvbalaw.com


                                        CERTIFICATE OF SERVICE

   I hereby certify that I have placed a copy of the above Notice of Appearance And Request For Service Of
Notices And Other Documents to Chad Michael Anders and Lauren Rose San Miguel, 213 Little Wichita,
Cibolo, Texas 78108 by First Class U.S. Mail, and to J. Todd Malaise, 909 NE Loop 410, Suite 300, San
Antonio, Texas 78209; Johnny W Thomas, johnnywthomas.trusteblogs.com St Paul Square 1153 E Commerce,
San Antonio, Texas 78205, and to those parties listed on the Court’s Notice of Electronic Filing on December 9,
2020, by Electronic Notification.

                                                     /s/Tara LeDay
                                                     Tara LeDay
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